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              IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MONTANA

                                      )
NOLAN SALIX; COTTONWOOD               )
ENVIRONMENTAL LAW CENTER, )                  Cause No.
             Plaintiffs,              )
      vs.                             )
                                      )      COMPLAINT FOR
UNITED STATES FOREST                  )      DECLARATORY AND
SERVICE; VICTORIA                     )      INJUNCTIVE RELIEF
CHRISTIANSEN, in her official         )
capacity as Regional Forester for the )
U.S. Forest Service, Region One,      )
             Defendants.              )
                                      )
                                      )
                                      )
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                             INTRODUCTION

         1. This case is about the Federal Government’s failure to

determine whether its programmatic management direction will adversely

modify millions of acres of designated critical habitat for the threatened

Canada lynx across several national forests in Montana.

                      JURISDICTION AND VENUE

         2.    This Court has jurisdiction over this action pursuant to

28 U.S.C. § 1331 (federal question), 16 U.S.C. § 1540(g) (Endangered

Species Act citizen-suit provision), and 28 U.S.C. § 361 (mandamus).

Defendants’ sovereign immunity is waived by 16 U.S.C. § 1540(g).

         3.    Plaintiffs have provided 60 days written notice of the

violations alleged herein pursuant to 16 U.S.C. § 1540(g).

         4.    Venue lies in this judicial district pursuant to 16 U.S.C.

§1540(g)(3)(A) and 28 U.S.C. § 1391(e) because a substantial part of the

ESA violations alleged herein occurred in this district.

                                     PARTIES

         5.    Plaintiff Nolan Salix is a resident of Dillon, Montana and

is a member of Cottonwood Environmental Law Center. Nolan Salix enjoys

the National Forests and uses areas designated as lynx critical habitat for

recreation and wildlife viewing. Nolan Salix enjoys going into areas


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designated as critical habitat in the Gallatin National Forest and other

national forests to look for the threatened Canada lynx. He uses these areas

on a frequent and ongoing basis and has concrete plans to return to these

areas during the fall of 2012.

          6.    Plaintiff Cottonwood Environmental Law Center (“CELC”)

is a non-profit law firm and conservation organization dedicated to the

protection of forests, water, and wildlife in the West. Members and staff of

the plaintiff organization live and/or recreate throughout the current and

historic range of the lynx, including the Gallatin, Lolo, Flathead, Helena and

Kootenai National Forests of Montana. Plaintiffs use and enjoy, on a

continuing and ongoing basis, the critical habitat of the lynx and the larger

ecosystems upon which the lynx depends. CELC’s members and staff derive

aesthetic, recreational, inspirational, educational, and other benefits from the

lynx’s existence in the wild on a regular and continuing basis and intend to

do so frequently in the future. CELC’s members and staff have participated

in efforts to protect and preserve the critical habitat essential to the

continued survival of the lynx.

          7.    The above-described aesthetic, recreational, inspirational,

educational, and other interests of the plaintiffs have been, are being, and,

unless the relief prayed for is granted, will continue to be adversely and


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irreparably injured by defendants’ failure to re-initiate consultation under the

Endangered Species Act (“ESA”). These are actual, concrete injuries to

plaintiffs, caused by defendants’ failure to comply with the ESA and its

implementing regulations and policies. These injuries would be redressed by

the relief requested in this complaint. Plaintiffs have no other adequate

remedy at law.

          8.     Defendant U.S. Forest Service (“Forest Service”) is an

agency of the federal government and is thus charged with re-initiating

consultation under section 7 of the Endangered Species Act and related

regulations.

          9.     Defendant Victoria Christiansen is the acting Regional

Forester for Region One of the Forest Service. The Regional Forester is a

federal official vested with responsibility for properly managing the National

Forest system and is responsible for the federal actions discussed herein.

Defendant Christiansen is sued in her official capacity.

                            THE CANADA LYNX

          10. The Canada lynx is a specialist. Like its relative, the bobcat,

the lynx is a compact predator with tufted ears and a black-tipped tail. See

Determination of Threatened Status for the Contiguous U.S. Distinct

Population Segment of the Canada Lynx and Related Rule, 65 Fed. Reg.


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16,052 (Mar. 24, 2000) (“Listing Rule”). Though these similarities have

proven enough to confuse state wildlife officials, whose trapping records

long maintained a single column for “lynxcats” (see id. at 16,054), the

differences between the bobcat and the lynx have not been lost on the

snowshoe hare. With “twice the surface area as those of the bobcat,” the

lynx’s “large, well-furred paws” allow it to traverse thick blankets of snow.

Id. at 16,052. The cat’s long legs compound this advantage. Id. All told,

while “[b]obcats are largely restricted to habitats where deep snows do not

accumulate,” the lynx is “highly adapted for hunting” on snow-covered

lands. Id. at 16,052. As another animal that “evolved to survive in areas

that receive deep snow,” the snowshoe hare has been left in search of cover.

See id. at 16,053.

          11. For all its evolutionary advantages, the Canada lynx has itself

come to need protection. On March 24, 2000, the U.S. Fish and Wildlife

Service (“Service” or “FWS”) added the lynx of the contiguous United

States to the list of threatened species. Listing Rule, 65 Fed. Reg. at 16,052.

Following nearly a decade of analysis, the agency determined that the lower-

48 lynx population—a “distinct population segment,” or “DPS,” under the

ESA—is threatened by “the inadequacy of existing regulatory mechanisms,

specifically the lack of guidance for conservation of lynx in National Forest


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Land and Resource Plans and [Bureau of Land Management] Land Use

Plans.” Id. at 16,061, 16,082. “[I]t is imperative,” the Service concluded,

“that lynx habitat and habitat for lynx prey be maintained and conserved on

Federal lands.” Id. at 16,079. “Until Plans adequately address risks such as

those identified in the [federal Lynx Conservation Assessment and

Strategy]”—including timber harvest and fire suppression activities—“the

lack of Plan guidance for conservation of lynx … is a significant threat to

the contiguous U.S. DPS of lynx.” Id. at 16,082.

         12. Despite its statutory obligation to designate critical habitat at

the time of listing, see Forest Guardians v. Babbitt, 174 F.3d 1178, 1181-82,

1185-86, 1193 (10th Cir. 1999) (discussing 16 U.S.C. § 1533(b)(6)(C)), the

Service delayed in providing habitat protections to the lynx. See

Designation of Critical Habitat for the Contiguous United States Distinct

Population Segment of the Canada Lynx, 71 Fed. Reg. 66,008-09 (Nov. 9,

2006) (“MacDonald Designation”). Clinging to an unlawful regulation that

had drained the ESA’s critical habitat provisions of their force, see N.M.

Cattle Growers Ass’n v. FWS, 248 F.3d 1277, 1283-85 (10th Cir. 2001)

(discussing the Service’s regulation and related policy position); Final

Listing Priority Guidance for Fiscal Year 2000, 64 Fed. Reg. 57,114,

57,117-18 (Oct. 22, 1999) (cited in Listing Rule, 65 Fed. Reg. at 16,083), the


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agency declined to designate critical habitat for the lynx until required to do

so by court order. See MacDonald Designation, 71 Fed. Reg. at 66,009; see

also Defenders of Wildlife v. Norton, 239 F. Supp. 2d 9, 26 (D.D.C. 2002)

(ordering “prompt rulemaking in order to designate Lynx critical habitat”),

vacated in part as moot, 89 Fed. Appx. 273 (D.C. Cir. 2004). Even then,

however, the Service balked.

          13. On November 9, 2006, the agency published a regulation

identifying lynx critical habitat in only three areas—“Voyageurs National

Park in Minnesota, portions of Glacier National Park in Montana, and

portions of North Cascades National Park in Washington.” MacDonald

Designation, 71 Fed. Reg. at 66,030, 66,055-61. The remainder of the

species’ habitat, which spans large portions of the lower-48’s northern tier,

was excluded from the designation. Id. at 66,010-11. The agency declared

that no Forest Service or Bureau of Land Management lands were included

in the designation because either their management plans had been revised to

incorporate lynx-specific management measures or, in the case of certain

Forest Service lands, “the[y] [we]re operating under a Conservation

Agreement … in which the [Forest Service had] agreed to use the [Lynx

Conservation Assessment and Strategy] to guide section 7 effects

determinations for lynx.” Id. at 66,010.


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         14.   Section 7 of the ESA requires each federal agency to

ensure that any action authorized, funded, or carried out by that agency “is

not likely to jeopardize the continued existence of any endangered species or

threatened species or result in the destruction or adverse modification” of

designated critical habitat. 16 U.S.C. § 1536(a)(2).

         15. On November 23, 2005, the Forest Service requested to enter

into formal section 7 consultation with the U.S. Fish and Wildlife Service

regarding the effects of the Northern Rocky Mountain Lynx Amendment

(“NRLA”) on the Distinct Population Segment of Canada Lynx. The NRLA

is a “programmatic plan amendment[]” to the Land and Resource

Management Plans on 18 National Forests in the Northern Rocky Mountains

analysis area. Biological Opinion (“Bi-Op”) at 4; 74 Fed. Reg. 8616, 8625.

         16.   The NRLA affects the following programs: vegetation

management, including pre-commercial thinning, timber harvest, fuels

management, and salvage harvest, and forest roads; livestock grazing;

minerals; developed recreation; non-winter dispersed recreation; habitat

connectivity; and winter recreation. Bi-Op at 5.

         17. On March 19, 2007, the U.S. Fish and Wildlife Service

issued a Biological Opinion on the effects of the NRLA. The Fish and

Wildlife Service concurred with the Forest Service’s determination that


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amending the Land and Resource Management Plans of 18 National Forests

would not jeopardize the continued existence of the Canada lynx. Bi-Op at

2.

         18.   At the time the Biological Opinion was issued there was no

lynx critical habitat designated on the National Forests. Bi-Op at 75 (“No

critical habitat has been designated for this species on Federal lands within

the NRLA area, therefore none will be affected.”).

         19.   Ultimately, the Service’s three-park critical habitat

designation for the Canada lynx was unable to survive the agency’s own

scrutiny. On July 20, 2007, U.S. Fish and Wildlife Service Director H. Dale

Hall announced that the lynx designation was one of eight agency actions

requiring reconsideration due to the improper administrative interference of

Julie MacDonald, former Deputy Assistant Secretary of the Interior.

Revised Designation of Critical Habitat for the Contiguous United States

Distinct Population Segment of the Canada Lynx, 74 Fed. Reg. 8,616-18,

8,623 (Feb. 25, 2009) (“Final Designation”). MacDonald’s brief tenure as a

political appointee within the Interior Department had been marked by

“extensive interference” in the Service’s scientific analyses, “over-

reaching,” and “‘illogical’ policy choices”—actions that arbitrarily and

unlawfully deprived numerous imperiled species of the ESA’s protections.


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See Alliance for the Wild Rockies, Inc. v. Allen, Civ. No. 04-1813, 2009 WL

2015407, at *2-3 (D. Or. July 1, 2009) (granting the government’s motion

for voluntary remand of a Service regulation that “‘exclud[ed] large amounts

of areas from the bull trout [critical habitat designation]’” due to

“MacDonald’s extensive interference in the process and over-reaching and

‘illogical’ policy choices”); see also, e.g., W. Watersheds Project v. FWS,

535 F. Supp. 2d 1173, 1187-89 (D. Id. 2007) (remanding the Service’s

refusal to list the greater sage-grouse where “MacDonald had extensive

involvement in the sage-grouse listing decision, used her intimidation tactics

in th[e] case, and altered the ‘best science’ to fit a not-warranted decision”);

Ctr. for Biological Diversity v. FWS, No. C04-04324, 2005 WL 2000928, at

*4-5, *15-16 (N.D. Cal. Aug. 19, 2005) (vacating a regulation that down-

listed two tiger salamander populations where “[t]he scientific review team

[had] decided against down-listing” but “were overruled and directed to

eliminate the DPS and down-list the species” by MacDonald and another

official). MacDonald’s substantial involvement in the Service’s three-park

lynx designation raised “questions … about the integrity of scientific

information used and whether the decision made was consistent with the

appropriate legal standards.” Final Designation, 74 Fed. Reg. at 8,617.

          20. After reviewing its November 9, 2006 regulation, the Service


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concluded that “the critical habitat designation [had been] improperly

influenced by then deputy assistant secretary of the Interior Julie

MacDonald.” Id. at 8,618. In particular, the agency acknowledged, “two

significant elements of the critical habitat designation … were influenced by

Ms. MacDonald”— “the exclusion of U.S. Forest Service … lands and

exclusions of State and private lands.” (Stansell Declaration, Defenders of

Wildlife v. Kempthorne (D.D.C. Civ. No. 00- 2996)). Because the Service’s

own record “d[id] not adequately support these exclusions,” (Stansell

Declaration, Defenders of Wildlife v. Kempthorne (D.D.C. Civ. No. 00-

2996)), the agency “determined that it was necessary to revise the critical

habitat designation” for the lynx. Final Designation, 74 Fed. Reg. at 8,623.

          21. After public comment and preparing an environmental

assessment, the Service concluded that additional lands in Idaho, Montana,

Wyoming—lands already occupied by the lynx—should have been included

within the species’ critical habitat. See Final Designation, 74 Fed. Reg. at

8,618, 8,623, 8,642-44. On February 25, 2009—nearly a decade after the

lower-48 lynx population was listed to ensure that “lynx habitat and habitat

for lynx prey [would] be maintained and conserved,” see Listing Rule, 65

Fed. Reg. at 16,079—the agency published a final regulation extending

critical habitat protections to these essential areas. See Final Designation, 74


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Fed. Reg. at 8,616.

          22. Critical habitat is defined in section 3 of the ESA as:

          (i) the specific areas within the geographical area occupied by a
          species, at the time it is listed in accordance with the Act, on
          which are found those physical or biological features

                      (a)   Essential to the conservation of the species and

                      (b) That may require special management
                          considerations or protection; and

          (ii) Specific areas outside the geographical area occupied by a
          species at the time it is listed, upon a determination that such areas
          are essential for the conservation of the species.

16 U.S.C. § 1532(5)(A) .

          23. “Regulations at 50 C.F.R. § 402.16 require Federal agencies to

re-initiate consultation on previously reviewed actions in instances where

[the Service has] listed a new species or subsequently designated critical

habitat that may be affected[.]” 74. Fed. Reg. at 8644.

          24.   Despite completing section 7 consultation with the Fish and

Wildlife Service and determining the Northern Rockies Lynx Amendment

would not “jeopardize” the continued existence of lynx, the Forest Service

never re-initiated section 7 consultation to determine whether the

Amendment would result in “adverse modification” of critical habitat. See

Bi-Op at 75; 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.16. “The analysis of

the effects to critical habitat is a separate and different analysis from that of
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the effects to the species, and may provide greater regulatory benefits to the

recovery of a species than listing alone.” 74. Fed. Reg. 8616, 8624. The

analysis “considers the effects of an action on the larger landscape scale of

the critical habitat unit as a whole.” 74 Fed. Reg. at 8626.

          25. The section 7 consultation on the programmatic amendment

to the “Forest Plans represents the first tier of a tiered consultation

framework, with each subsequent project that may affect lynx as

implemented under the amended Forest Plans being the second tier of

consultation.” Bi-Op at 4. “These second tier biological opinions would

reference back to this biological opinion to ensure that the effects of specific

projects under consultation, taken together with all other second tier projects

are commensurate with the effects anticipated in this biological opinion.” Id.

          26. The NRLA may affect critical habitat because it provides

the “big picture approach to lynx management.” Bi-Op at 70. It “contributes

to the landscape level direction necessary for the survival and recovery of

lynx in the northern Rockies ecosystem.” Bi-Op at 70. As the Service points

out, “management activities [can] reduce or degrade essential habitat

elements used by lynx for denning, foraging, and recruitment, or [] increase

habitat fragmentation and lynx mortality. Effects may occur and/or continue

without appropriate management direction at broad scales.” Bi-Op at 31.


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                        FIRST CAUSE OF ACTION

         27. Plaintiffs re-allege and incorporate by reference the preceding

paragraphs.

         28. Defendants have violated, and continue to violate, section 7 of

the ESA and its implementing regulations with regard to the actions they

authorize, fund, and/or carry out and the corresponding effects these actions

have on lynx critical habitat. Defendants violated 50 C.F.R. § 402.16 by

failing to re-initiate consultation to determine whether the NRLA would

adversely modify lynx critical habitat.

                          PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court:

   A. Adjudge and declare that Defendants are in violation of law under the

      ESA by:

              (1) violating their procedural duties under ESA Section 7, by

                 failing to re-initiate ESA consultation to determine whether

                 the NRLA will adversely modify lynx critical habitat.

   B. Order Defendants to comply with the requirements of the ESA by

      promptly re-initiating consultation.

   C. Issue such temporary, preliminary, and/or permanent injunctive relief

      as may be specifically requested hereafter by Plaintiff.


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D. Award Plaintiffs their reasonable attorney fees, costs, and litigation

   expenses, under the ESA, 16 U.S.C. § 1540(g), the Equal Access to

   Justice Act, and/or any other applicable provision of law.

E. Grant such further and additional relief as the Court deems just and

   proper in order to remedy the violations of law alleged herein and to

   protect the interests of the Plaintiffs, the Public, and the threatened

   Canada lynx.



Dated: March 26, 2012

Respectfully submitted,



                       /s/ John Meyer       _
                          John Meyer

                       /s/ Andrew Gorder_
                          Andrew Gorder


                       Attorneys for Plaintiffs




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